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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                  FORT WORTH DIVISION


  JENNIFER VANDERSTOK;
  MICHAEL G. ANDREN;
  TACTICAL MACHINING, LLC;
  FIREARMS POLICY COALITION, INC., et al.,

                     Plaintiffs


                                                        Civil Action No. 4:22-cv-00691-O
  MERRICK GARLAND;
  UNITED STATES DEPARTMENT OF JUSTICE;
  STEVEN DETTELBACH; and BUREAU OF
  ALCOHOL, TOBACCO, FIREARMS AND
  EXPLOSIVES,

                     Defendants.


   NOT AN LLC d/b/a JSD SUPPLY’S EMERGENCY MOTION FOR INJUNCTION
                            PENDING APPEAL


       Intervenor-Plaintiff Not An LLC d/b/a JSD Supply (“JSD Supply”) files this emergency

motion for an injunction pending appeal. Counsel for JSD Supply conferred with counsel for

Defendants who stated they oppose this motion.

                                          Argument

       JSD Supply files this emergency motion for an injunction pending appeal or, in the

alternative, renews its Motion for Preliminary Injunction (ECF #151). In its June 30, 2023 Order

vacating the Final Rule (ECF #227), this Court granted JSD Supply’s Motion to Intervene (ECF

#149), but denied JSD Supply’s Motion for a Preliminary Injunction (ECF #151) as being moot,

due to this Court’s granting other plaintiffs’ Motion for Summary Judgment and ultimate vacatur

of the Final Rule.

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       Today, the Court granted a seven-day administrative stay of that final judgment, which had

provided full relief to JSD Supply. Intervenor-Plaintiffs Defense Distributed and The Second

Amendment Foundation, Inc. have taken the position that this Court’s order today “should be

understood to resurrect the March 8 preliminary injunction order automatically, without the need

for any further party or Court action.” ECF #239 at 2. However, the government takes the opposite

position – that the Final Rule is now back in effect as to everyone, including the parties who

originally received preliminary injunctions from this Court. Id.

       JSD Supply submits that Intervenor-Plaintiffs have the better argument, and that this

Court’s order of today should not be understood to have undone the Court’s prior injunctive relief.

JSD Supply, however, is in the unique position of never having been the beneficiary of that prior

injunctive relief. Rather, this Court denied JSD Supply’s motion for a preliminary injunction as

moot, due to the Court’s vacatur of the Final Rule. However, since that Order now has been stayed,

JSD Supply’s earlier Motion for Preliminary Injunction (ECF #151) no longer is moot.

       If JSD Supply is not protected by either the Court’s existing final judgment (now stayed)

or by an individualized injunction pending appeal—then enforcement of the Final Rule could be

resumed against JSD Supply. Without relief, the Final Rule will cause further serious and

irreparable harm to JSD Supply, for the reasons JSD Supply first introduced at the preliminary

injunction stage. As this Court acknowledged, “JSD Supply is a manufacturer and distributor that

earns most of its revenue through sales of products now subject to the Final Rule.” ECF #227 at

8; see also ECF #152 at 14 (explaining the irreparable harm to JSD Supply, including potentially

going out of business).




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                                          Conclusion

       For the reasons stated, the Court should order that Defendants and their officers, agents,

servants, and employees are enjoined from implementing and enforcing against JSD Supply and

its customers (except for those individuals prohibited from possessing firearms under 18 U.S.C. §

922(g)) the provisions in 27 C.F.R. §§ 478.11 and 478.12 that the Court preliminarily determined

are unlawful.

       Dated: July 18, 2023.



                                            Respectfully submitted,

                                            /s/ J. Mark Brewer
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                                            dba JSD Supply




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                            CERTIFICATE OF CONFERENCE
       I certify that on July 18, 2023, I conferred with counsel for defendants regarding this

motion. Counsel for defendants informed the undersigned that this motion is opposed.

                                           /s/ J. Mark Brewer
                                           J. Mark Brewer



                               CERTIFICATE OF SERVICE

       I certify that on July 18, 2023, the foregoing document was served, via the Court’s

CM/ECF Document Filing System, upon the registered CM/ECF users in this action.


                                           /s/ J. Mark Brewer
                                           J. Mark Brewer




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